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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                     CIVIL ACTION

VERSUS                                                    NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                  SECTION: “I”(5)



                   ORDER RESCHEDULING STATUS CONFERENCE

       The status conference scheduled for September 30, 2020 in the above matter is

hereby RESCHEDULED for October 1, 2020 at 11:00 a.m. before Magistrate Judge Michael

B. North.

       New Orleans, Louisiana, this 28th day of September , 2020.




                                               MICHAEL B. NORTH
                                         UNITED STATES MAGISTRATE JUDGE
